 Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 1 of 15 PAGEID #: 209




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

STATE OF OHIO,                             )
                                           )
                       Plaintiff,          )
v.                                         )
                                           )
JANET YELLEN, in her official capacity as )    CASE NO. 1:21-cv-181
Secretary of the Treasury; RICHARD K.      )
DELMAR, in his official capacity as acting )   JUDGE DOUGLAS R. COLE
inspector general of the Department of the )
Treasury; and U.S. DEPARTMENT OF           )
THE TREASURY                               )
                                           )
                       Defendants.         )



 BRIEF OF AMICUS CURIAE NATIONAL TAXPAYERS UNION FOUNDATION IN
   SUPPORT OF PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION



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   Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 2 of 15 PAGEID #: 210




                                                   TABLE OF CONTENTS


TABLE OF CONTENTS ................................................................................................................ 1

TABLE OF AUTHORITIES .......................................................................................................... 2

CORPORATE DISCLOSURE STATEMENT .............................................................................. 4

INTEREST OF AMICUS CURIAE................................................................................................. 5

ARGUMENT .................................................................................................................................. 6

          I. THE CLAWBACK PROVISION IS EITHER VOID FOR VAGUENESS OR
             UNCONSTITUTIONALLY COERCIVE. ......................................................................... 6

                A. The Provision is So Ambiguous That Its Enforcement Will Be Arbitrary. ............ 7

                B. The Term “Indirectly” In The Statute Is An Unconstitutionally Intrusive
                   Condition on State Governments. ......................................................................... 10

CONCLUSION ............................................................................................................................. 13




                                                                     1
   Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 3 of 15 PAGEID #: 211




                                                TABLE OF AUTHORITIES


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42 U.S.C. § 602(e) .......................................................................................................................... 6




                                                                      2
    Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 4 of 15 PAGEID #: 212




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                                                                        3
  Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 5 of 15 PAGEID #: 213




                        CORPORATE DISCLOSURE STATEMENT


       Pursuant to the Corporate Disclosure Statement requirement in Local Civil Rule 7.1.1,

Amicus Curiae National Taxpayers Union Foundation discloses the following:

       1. Is said a parent, subsidiary, or other affiliate of publicly owned corporations? No.

       2. Is there a publicly owned corporation, not a party to the case, that has a financial

          interest in the outcome? No.

                                               /s/ Joseph D. Henchman
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                                                4
  Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 6 of 15 PAGEID #: 214




                               INTEREST OF AMICUS CURIAE

       The National Taxpayers Union Foundation was founded in 1973, and is a non-partisan

research and educational organization dedicated to showing Americans how taxes, government

spending, and regulations affect them. NTUF advances principles of limited government, simple

taxation, and transparency on both the state and federal levels. NTUF’s Taxpayer Defense Center

advocates for taxpayers in the courts, producing scholarly analyses and engaging in litigation and

amicus curiae briefs upholding taxpayers’ rights, challenging administrative overreach by tax

authorities, and guarding against unconstitutional burdens on interstate commerce.

       Amicus has written extensively on the provision of federal law at issue in this case, as part

of its broader work testifying and writing on the interplay between federal powers and state tax

policy. Amicus also communicates regularly and extensively with federal and state policymakers,

producing research and analysis including continuous legal analysis of this provision and ongoing

developments surrounding it. This background places Amicus in a position to provide “information

[that] is timely, useful or otherwise necessary to the administration of justice.” Ball v. Kasich, 2017

WL 3172778 (S.D. Ohio Jul. 25, 2017), citing U.S. v. Michigan, 940 F.2d 143, 165 (6th Cir. 1991).

       Because this Court’s decision may be looked to as authority by the many courts considering

this issue, and because any decision will significantly impact taxpayers, state tax policy, and tax

administration, Amicus has an institutional interest in this Court’s ruling.




                                                  5
     Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 7 of 15 PAGEID #: 215




                                           ARGUMENT


I.      THE CLAWBACK PROVISION IS EITHER VOID FOR VAGUENESS OR
        UNCONSTITUTIONALLY COERCIVE.

        On March 11, 2021, President Biden signed the American Rescue Plan Act of 2021

(ARPA) into law, and Subtitle M, Section 9901 amends 42 U.S.C. § 602(c)(2)(A) to read:

        In general.—A State or territory shall not use the funds provided under this section or
        transferred pursuant to section 603(c)(4) to either directly or indirectly offset a reduction
        in the net tax revenue of such State or territory resulting from a change in law, regulation,
        or administrative interpretation during the covered period that reduces any tax (by
        providing for a reduction in a rate, a rebate, a deduction, a credit, or otherwise) or delays
        the imposition of any tax or tax increase.

42 U.S.C. § 602(c)(2)(A). States which violate the provision “shall be required to repay to the

Secretary an amount equal to the amount of funds used in violation” calculated as the “lesser of

(1) the amount of the applicable reduction to net tax revenue attributable to such violation; and (2)

the amount of funds received by such State or territory pursuant to a payment made under this

section or a transfer made [to local governments].” 42 U.S.C. § 602(e).

        The provision is capable of multiple meanings, such that an honest person (or state

government) attempting to abide by its terms is necessarily guessing at its meaning. This has result

in paralyzing state legislative action for fear of violating the provision, undermining ARPA’s

purpose of action to provide pandemic relief. This chilling effect of the ARPA provision, coupled

with the lack of legislative history and the limitations of any future Treasury guidance, means one

of two things. Either the provision is so capable of multiple meanings that it is void for vagueness,

or is an exercise of such great power by Congress as to deprive states of independent action on

their tax policies for five years. The broad sweep of the term “indirectly,” coupled with the inherent

fungibility of money in state budgets, means that any state that accepts ARPA aid (and the funds

are of such size that no state will be to explain why its citizens must take on the debt to pay for


                                                  6
  Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 8 of 15 PAGEID #: 216




ARPA but say no to their share of the allocations) is effectively surrendering the ability to cut

taxes. Because the former result violates the Due Process Clause and the latter result violates the

Tenth Amendment, this Court should hold the ARPA provision to be unconstitutional.


       A. The Provision is So Ambiguous That Its Enforcement Will Be Arbitrary.


       The ARPA provision is capable of at least three reasonable readings.

       Some read it as a complete ban on state tax cuts through 2024. For example, the New York

Times reported Senator Joe Manchin (D-WV) as pushing for the language because he believes

“states should not be cutting taxes at a time when they need more money to combat the virus. He

urged states to postpone their plans to cut taxes.” Alan Rappeport, “A Last Minute Add to Stimulus

Bill   Could    Restrict     State   Tax        Cuts,”      New     York     Times   (Mar.   12,   2021),

https://www.nytimes.com/2021/03/12/us/politics/biden-stimulus-state-tax-cuts.html.

       Some read it as allowing states to cut taxes but only on condition of surrendering aid dollar-

for-dollar. For example, Nicholas Johnson of the Center on Budget & Policy Priorities (CBPP)

writes, “It says they can’t use federal dollars to do that, either directly or indirectly. If a state

chooses to enact a net tax cut, it will forgo the equivalent amount of federal aid provided through

the Act’s Coronavirus State Fiscal Recovery Fund.” Nicholas Johnson, “Rescue Plan Protects

Against   Using    Federal     Dollars     to    Cut       State   Taxes,”   CBPP    (Mar.   11,   2021),

https://www.cbpp.org/blog/rescue-plan-protects-against-using-federal-dollars-to-cut-state-taxes.

       A third reading was provided by U.S. Treasury Department on March 23, 2021, in a letter

to Arizona Attorney General Mark Brnovich. Treasury stated that the provision “simply provides

that funding received under the Act may not be used to offset a reduction in net tax revenue

resulting from certain changes in state law. If States lower certain taxes but do not use funds under

the Act to offset those cuts—for example, by replacing the lost revenue through other means—the

                                                       7
  Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 9 of 15 PAGEID #: 217




limitation in the Act is not implicated.” Letter from U.S. Treasury Department to Arizona Attorney

General Mark Brnovich (Mar. 23, 2021), https://home.treasury.gov/news/press-releases/jy0075.

        This lack of clarity has had a chilling effect on state legislative sessions currently in

progress. See, e.g., Associated Press, “California delays tax break for businesses because of

COVID-19 relief bill,” Mar. 19, 2021, https://ktla.com/news/california/covid-19-relief-bill-

delays-tax-break-for-california-businesses/ (“[A] bill that would do that has been delayed because

of a provision in the latest federal coronavirus relief bill that says states can’t use relief money to

cut taxes.”); Ian Richardson, “Iowa Senate votes to shift mental health funding to state, eliminate

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Tribune, Mar. 12, 2021, https://www.sltrib.com/news/politics/2021/03/12/advocates-urge-utahs/

(“Utah advocates are warning that new state tax cuts could put at risk millions of dollars in federal

coronavirus aid and are urging Gov. Spencer Cox to veto the only tax relief proposal he hasn’t yet

signed.”).



                                                  8
  Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 10 of 15 PAGEID #: 218




       In early April 2021, NTUF sent a letter to Treasury Secretary Janet Yellen requesting

guidance interpreting the ARPA provisions, with eight specific recommendations. See Joe Bishop-

Henchman, “NTU Requests Clarification on State Tax Provision in American Rescue Plan,” Apr.

7, 2021, https://www.ntu.org/foundation/detail/ntu-requests-clarification-on-state-tax-provision-

in-american-rescue-plan. We requested (1) Treasury should make clear the baseline from which

revenue reductions will be calculated, such as the pandemic revenue low point, excluding tax cuts

that do not cut revenue below that; (2) Treasury should make clear who will be making the

determination and how, such as by using certifications from state authorities as the mechanism of

determination; (3) we urged that previously enacted, announced, or introduced state tax changes

be excluded; (4) we asked that changes designed to conform to federal law be excluded; (5) we

asked that state tax cuts that further ARPA objectives, such as those that address unemployment

or shore up small businesses, be excluded; (6) we asked that court-ordered refunds or reductions,

such as if a state tax is declared unconstitutional, be excluded; (7) we asked that Treasury allow

states to receive advance OK that their tax cut is permissible, and that Treasury provide a dispute

resolution mechanism; and (8) we asked Treasury to state generally that “directly or indirectly” is

to be narrowly construed. On April 7, the Treasury Department issued a statement that state tax

changes that conform to federal law would be excluded (essentially the fourth of the above

requests). See U.S. Department of the Treasury, “Statement on State Fiscal Recovery Funds and

Tax   Conformity,”     Apr.    7,   2021,   https://home.treasury.gov/news/press-releases/jy0113

(“Regardless of the particular method of conformity and the effect on net tax revenue, Treasury

views such changes as permissible under the offset provision.”).

       Absent a narrowing interpretation by the courts or by Treasury guidance, the ARPA

provision forces people “of common intelligence [to] necessarily guess at its meaning and differ



                                                9
  Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 11 of 15 PAGEID #: 219




as to its application,” which thereby “violates the first essential of due process of law.” Connally

v. General Construction Co., 269 U.S. 385, 391 (1926). The law neither enumerates the practices

that are required or prohibited, nor details the procedures to be followed by those responsible for

enforcing the provision. See, e.g., United States v. Williams, 553 U.S. 285, 304 (2008). As a result,

the statute deprives ordinary people of the “fair notice of the conduct a statute prescribes” and fails

“to guard[] against arbitrary or discriminatory law enforcement.” Sessions v. Dimaya, 584 U.S.

___, 138 S. Ct. 1204, 1212 (2018). See also Grayned v. City of Rockford, 408 U.S. 104, 108-109

(1972) (“A vague law impermissibly delegates basic policy matters to policemen, judges, and

juries for resolution on an ad hoc and subjective basis.”). Invalidating vague laws not only upholds

the Due Process Clause, it upholds the separation of powers. See, e.g., Sessions, 138 S. Ct. at 1228

(Gorsuch, J., concurring in the judgment), citing Jordan v. De George, 341 U.S. 223, 242 (1951)

(Jackson, J., dissenting) (“Under the Constitution, the adoption of new laws restricting liberty is

supposed to be a hard business, the product of an open and public debate among a large and diverse

number of elected representatives. Allowing the legislature to hand off the job of lawmaking risks

substituting this design for one where legislation is made easy, with a mere handful of unelected

judges and prosecutors free to “condem[n] all that [they] personally disapprove and for no better

reason than [they] disapprove it.”). See also Pennhurst State School and Hospital v. Haldeman,

451 U.S. 1, 17 (1981) (“Accordingly, if Congress intends to impose a condition on the grant of

federal moneys, it must do so unambiguously.”).


       B. The Term “Indirectly” In The Statute Is An Unconstitutionally Intrusive

           Condition on State Governments.


       What actions indirectly “offset a reduction of net tax revenue…or delays the imposition of

any tax or tax increase”? “Indirect” is a broad term, with “direct and indirect” together

                                                  10
  Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 12 of 15 PAGEID #: 220




encompassing all. See, e.g., Babbitt v. Sweet Home Chapter of Communities for a Greater Oregon,

515 U.S. 687, 704 (1995) (“Congress intended ‘take’ to apply broadly to cover indirect as well as

purposeful actions...in the broadest possible manner to include every conceivable way in which a

person can take or attempt to take….”) (cleaned up); National Ass’n of Greeting Card Publishers

v. U.S. Postal Service, 462 U.S. 810, 827 (1983) (“[A]ll costs of the Postal Service, both ‘direct’

and ‘indirect’.”); BLACK’S LAW DICTIONARY, 10TH ED. 2014 at 423 (“Indirect cost: A cost that is

not specific to the production of a particular good or service but that arises from production activity

in general, such as overhead allocations for general and administrative activities.”); TheLaw.com

Dictionary, Indirect, https://dictionary.thelaw.com/indirect/ (“A term almost always used in law in

opposition to ‘direct’ though not the only antithesis of the latter word….”).

       Money is inherently fungible, especially funds in state budgets. States estimate their

revenues and expenses and general funds from all sources are used to support all programs, and

the allocation of expenses to particular sources is mainly a post-hoc accounting exercise. See, e.g.,

New York v. U.S. Department of Education, 903 F.2d 930, 934 (2nd Cir. 1990) (“Considering this

budget process and the fungible nature of money in general, it would be unreasonable to require

the Secretary to identify a particular source of funds that would have supported Promotional Gates

in the absence of the supplemental Chapter 1 appropriation.”). The proliferation of “maintenance

of effort” conditions on federal funds recognizes this fact, setting minimum funding obligations to

police the instinct to use new funds for current activities and thereby free up existing funds for

other purposes. See, e.g., Audette v. Sullivan, 19 F.3d 254, 256 (6th Cir. 1994) (“In passing the

maintenance-of-effort provision, Congress intended to establish a minimum below which AFDC

benefits would not fall.”). Cf. Knox v. Service Employees Intern. Union, Local 1000, 567 U.S. 298,

334-35 (2012) (Breyer, J., dissenting), citing Retail Clerks v. Schermerhorn, 373 U.S. 746, 753


                                                  11
    Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 13 of 15 PAGEID #: 221




(1963) (“In any event, we have made clear in other cases that money is fungible. Whether a

particular expenditure was funded by regular dues or the special assessment is ‘of bookkeeping

significance only rather than a matter of real substance.’”).

         Absent a narrowing interpretation by the courts or by Treasury guidance, the ARPA

provision attempts to prohibit all state tax cuts, since any state that accepts ARPA funds and cuts

taxes can be said to be “directly or indirectly” using those funds to cut taxes. If the statute merely

said “directly” that might be a limiting factor, prohibiting direct dollar-for-dollar or simultaneous

in time acceptance of ARPA funds and cutting of taxes. “Indirectly” is no limiting factor. With the

size of the federal aid so massive 1 that no state will be able to turn it down (given that their citizens

are also federal taxpayers who will bear the burden of paying for the future debt, making it

politically difficult to not take advantage of the immediate benefits), the condition attached to the

federal aid—cede to Congress your power to cut taxes for five years—is unconstitutionally

coercive. See New York v. United States, 505 U.S. 144, 162 (1992) (“While Congress has

substantial powers to govern the Nation directly, including in areas of intimate concern to the



1
    ARPA provides $195 billion in aid to state governments and $130 billion in aid to local

governments. The state portion amounts to 22 percent of all states’ annual general fund budgets

($892.9 billion in Fiscal 2021) and 9 percent of all states’ total fund budgets ($2.26 trillion); the

combined state and local aid amounts to 36 percent of general fund budgets and 14 percent of all

funds budgets. See National Association of State Budget Officers, The Fiscal Survey of States Fall

2020 at 13, https://www.nasbo.org/reports-data/fiscal-survey-of-states. Cf. Sebelius, 567 U.S. at

582 (“The threatened loss of over 10 percent of a State’s overall budget, in contrast, is economic

dragooning that leaves the States with no real option but to acquiesce in the Medicaid expansion.”).


                                                   12
  Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 14 of 15 PAGEID #: 222




States, the Constitution has never been understood to confer upon Congress the ability to require

the States to govern according to Congress’ instructions.”). While Congress may under some

circumstances condition the receipt of new federal funds, restricting past and future actions that

“indirectly” use federal funds amounts to “Congress directly command[ing] a State to regulate or

indirectly coerces a State to adopt a federal regulatory system as its own” in violation of the Tenth

Amendment. National Federation of Independent Business v. Sebelius, 567 U.S. 519, 578 (2012).

                                         CONCLUSION

       For the foregoing reasons, Amicus respectfully requests that this Court grant the plaintiff’s

motion.

                                                Respectfully Submitted,

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Dated: April 13, 2021




                                                 13
  Case: 1:21-cv-00181-DRC Doc #: 27 Filed: 04/13/21 Page: 15 of 15 PAGEID #: 223




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 13, 2021, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties for whom counsel has entered

an appearance by operation of the Court’s electronic filing system.



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                                               14
